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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

KAREN TATUM,                              )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )         Case No. 4:23 CV 1219 RWS
                                          )
NORTH AMERICA CENTRAL                     )
SCHOOL BUS LLC,                           )
                                          )
            Defendant.                    )

                          MEMORANDUM AND ORDER

      This matter is before the Court on pro se plaintiff Karen Tatum’s “motion

for leave to set aside this case.” ECF 89. Although less than clear, it appears that

Tatum is seeking to stay this case for an unspecified length of time because she is

out of town. The motion for stay is denied, given that this case is over one year old

and no case management order has yet been entered due to Tatum’s protracted

refusal to participate in the preparation of a proposed scheduling plan and her

practice of continually filing meritless motions and requests for reconsideration.

      Because of the procedural posture of this case, no stay of proceedings is

necessary as discovery is not even authorized at this point in the case. The United

States Marshal’s Service has yet to return service on the newly-joined defendant
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LIUNA,1 and LIUNA will have the opportunity to file a responsive pleading in

accordance with the time limitations set forth in the Federal Rules of Civil

Procedure once service has been achieved. No motions are pending in this case

(other than the current one, filed by Tatum). Although plaintiff cites her

interlocutory appeal as a reason to stay, that appeal has already been dismissed for

lack of jurisdiction. ECF 87. Plaintiff also threatens to file yet another appeal of

the denial of her motion to revoke pro hac vice status. Even if true, such an action

would not warrant of stay of this case. Plaintiff need only to stop filing motions to

get a “stay” of this case.

       Plaintiff’s demand for “copies of all filings” is likewise denied. Although

plaintiff has been granted IFP status, she is not entitled to multiple free copies of

documents, particularly when most of the 89 docket entries are created by her. As

plaintiff has already received a copy of all documents in this case, the request is

denied as to all filings but denied without prejudice to a showing of particularized

need for a filing identified by docket number.

       Finally, to the extent that Tatum’s statement that she “does not have to work

on a bias proposal. I can work with other attorneys of record in St. Louis” is

construed as her latest pronouncement that she will continue to refuse to participate



1
  Despite her continued insistence otherwise, Rek Woods is not a defendant in this case and for
that reason the USMS has not been directed to obtain service on this individual.
                                                2
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in a Rule 26 scheduling conference with defense counsel from Chicago, the Court

can only say that no such conference has been ordered at this time. However, it

bears repeating that Tatum does not have the right to choose defendant’s counsel.

Therefore, Tatum will be expected to communicate with defense counsel --

including those in Chicago -- in connection with the prosecution of this action, and

her continued refusal to do so may subject her to sanctions, which could include

the dismissal of this case with prejudice.

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff’s motion for leave to request to

set aside this case [89] is denied.

      IT IS FURTHER ORDERED that plaintiff’s motion for copies of all

filings [89-1] is denied as to a request for all filings, but denied without prejudice

to a showing of particularized need for a filing identified by docket number.




                                          RODNEY W. SIPPEL
                                          UNITED STATES DISTRICT JUDGE

Dated this 3rd day of December, 2024.




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